
670 S.E.2d 237 (2008)
STATE of North Carolina
v.
Willie Clarence ALSTON.
No. 439P08.
Supreme Court of North Carolina.
December 11, 2008.
Willie C. Alston, Pro Se.
LaToya B. Powell, Assistant Attorney General, Howard S. Boney, Jr., District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 18th day of September 2008 in this matter for a writ of certiorari to review the order of the Superior Court, Nash County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 11th day of December 2008."
